      Case 22-33553 Document 784 Filed in TXSB on 07/19/24 Page 1 of 10
                                                                                    United States Bankruptcy Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       THE UNITED STATES BANKRUPTCY COURT                                  July 17, 2024
                        FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

 In re:                                         §
                                                §           Case No. 22-33553
 ALEXANDER E. JONES                             §           (Chapter 7)
                                                §
          Debtor.                               §


                    STIPULATION AND AGREED ORDER
        EXTENDING THE DEADLINE FOR PARTIES TO RESPOND TO
  MARTIN, DISIERE, JEFFERSON & WISDOM, LLP’S FINAL FEE APPLICATION
                         [Relates to Docket No. 748]

          WHEREAS, on December 2, 2022 (“Petition Date”), Alexander E. Jones (“Debtor”)

filed his voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the Southern District of Texas (“Court”).

          WHEREAS, on February 28, 2023, the Court entered an Order [DE 186] authorizing the

Debtor’s retention of Martin, Disiere, Jefferson, & Wisdom, LLP (“MDJW”) as special counsel

for the Debtor.

          WHEREAS, on January 20, 2023, the Court entered an Order [DE 106] establishing

procedures for interim compensation and reimbursement of expenses for chapter 11 professionals

(“Interim Compensation Procedures”).

          WHEREAS, on June 14, 2024 (“Conversion Date”), the Court entered an Order [DE 708]

converting the bankruptcy case from a case under chapter 11 of the Bankruptcy Code to a case

under chapter 7 of the Bankruptcy Code.

          WHEREAS, upon conversion of the bankruptcy case to a case under chapter 7 of the

Bankruptcy Code, Christopher R. Murray was duly appointed as the chapter 7 trustee (“Trustee”)

of the Debtor’s bankruptcy estate (“Estate”).




                                           PAGE 1 OF 3
      Case 22-33553 Document 784 Filed in TXSB on 07/19/24 Page 2 of 10



        WHEREAS, on June 28, 2024, MDJW filed its Final Application for Compensation [DE

748] (the “Final Fee Application”) requesting allowance and payment, on a final basis,

professional fees and reimbursable expenses for professional services rendered as co-counsel for

the Debtor for the period of January 8, 2023 through June 14, 2024.

        WHEREAS, the deadline for all parties to file a response to the Final Fee Application is

July 19, 2024 (“Original Response Deadline”).

        WHEREAS, the Trustee requested and MDJW agreed to a 30-day extension of the

Original Response Deadline to aid in a more efficient transition of the case post-conversion.

    NOW, THEREFORE, IT IS STIPULATED AND AGREED BY THE PARTIES
HERETO AND UPON APPROVAL BY THE COURT OF THIS STIPULATION, IT IS SO
ORDERED THAT:

        1.      The above recitals are incorporated by reference herein with the same force and

effect as if fully set forth hereafter.

        2.      The deadline for any and all creditors and/or parties-in-interest in this bankruptcy

case, including but not limited to the Trustee (“Parties”), to file a response and/or objection to

MDJW’s Final Fee Application is extended to August 19, 2024.

        3.      Nothing herein shall be construed to prohibit Parties from seeking further

extensions by agreement and/or by further order of the Court.

        4.      Notwithstanding anything in the Bankruptcy Code or the Bankruptcy Rules to the

contrary, this Stipulation and Agreed Order shall be effective immediately upon the Court’s

approval.




                                            PAGE 2 OF 3
      Case 22-33553 Document 784 Filed in TXSB on 07/19/24 Page 3 of 10



       5.     The Court has exclusive jurisdiction and power regarding the implementation,

interpretation, and enforcement of this Stipulation and Agreed Order.




Dated: July 16, 2024.


IT IS SO ORDERED.


                                      August
                                      July      02, 2019 Christopher M. Lopez
                                           17, 2024

                                                    United States Bankruptcy Judge


AGREED AS TO FORM AND SUBSTANCE:

 JONES MURRAY LLP                                MARTIN, DISIERE, JEFFERSON &
 /s/ Erin E. Jones                               WISDOM LLP
 Erin E. Jones                                   /s/ Jeffrey G. Tinkham (with permission)
 Texas Bar No. 24032478                          Jeffrey G. Tinkham, Of Counsel
 erin@jonesmurray.com                            Texas Bar No. 20056300
 Jacqueline Q. Chiba                             tinkham@mdjwlaw.com
 Texas Bar No. 24113599                          808 Travis, Suite 1100
 jackie@jonesmurray.com                          Houston, TX 77002
 602 Sawyer St., Suite 400                       Tel. (713) 632-1700
 Houston, TX 77007                               SPECIAL COUNSEL FOR THE DEBTOR
 Tel. (832) 529-1999
 CO-COUNSEL FOR THE CHAPTER 7 TRUSTEE




                                          PAGE 3 OF 3
                     Case 22-33553 Document 784 Filed in TXSB on 07/19/24 Page 4 of 10
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-33553-cml
Alexander E. Jones                                                                                                     Chapter 7
Official Committee Of Unsecured Creditor
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 7
Date Rcvd: Jul 17, 2024                                               Form ID: pdf002                                                           Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 19, 2024:
Recip ID                   Recipient Name and Address
db                         Alexander E. Jones, c/o 2525 McKinnon Street, Suite 425, Dallas, TX 75201
aty                    +   Anna Kordas, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-1000, UNITED STATES 10036-6730
aty                    +   Crowe & Dunlevy, 2525 McKinnon St, Suite 425, Dallas, TX 75201-1543
aty                    +   David Franklin Hill, IV, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-6730
aty                    +   Jonathan Day, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Leslie E. Liberman, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Paul Andrew Paterson, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Reynal Law Firm, P.C., 917 Franklin St., Suite 600, Houston, TX 77002-1764
aty                    +   Richard A. Cochrane, Caldwell Cassady Curry PC, 2121 N. Pearl St., Ste. 1200, Dallas, TX 75201-2494
aty                    +   Theodore James Salwen, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-6730
aty                    +   Vida Robinson, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
cr                     +   Elevated Solutions Group, LLC, c/o Walker & Patterson, P.C., P.O. Box 61301, Houston, TX 77208-1301
cr                     +   Erica L. Ash, c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701 UNITED STATES 78701-0137
cr                     +   Francine Wheeler, Cain & Skarnulis PLLC, Ryan E. Chapple, 303 Colorado Street, Suite 2850 Austin, TX 78701-0137
cr                     +   Free Speech Systems, LLC, Free Speech Systems, LLC, c/o Patrick Magill, 3019 Alvin Devane Blvd., Ste 300 Austin,, TX 78741-7417
cr                     +   Reeves Law, PLLC, 702 Rio Grande St., Suite 203, Austin, TX 78701-2720
cr                     +   Richard M. Coan, c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-0137
cr                     +   Security Bank of Texas, P.O. Box 90, Crawford, Tx 76638-0090

TOTAL: 18

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     ^ MEBN
                                                                                        Jul 17 2024 20:02:34      Ally Bank, c/o Quilling, Selander, et al, 2001
                                                                                                                  Bryan Street, Suite 1800, Dallas, TX 75201-3070
cr                     + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                        Jul 17 2024 20:04:55      Ally Bank, c/o AIS Portfolio Services, LLC, 4515
                                                                                                                  N Santa Fe Ave. Dept. APS, Oklahoma City, OK
                                                                                                                  73118-7901
cr                         Email/PDF: bncnotices@becket-lee.com
                                                                                        Jul 17 2024 20:04:35      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern, PA 19355-0701
cr                         Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        Jul 17 2024 19:59:00      Bank of America N.A., P.O. BOX 31785, Tampa,
                                                                                                                  FL 33631-3785
crcm                   + Email/Text: mbrimmage@akingump.com
                                                                                        Jul 17 2024 20:00:00      Official Committee Of Unsecured Creditors, c/o
                                                                                                                  Marty L. Brimmage, Jr., Akin Gump Strauss
                                                                                                                  Hauer & Feld LLP, 2300 N. Field Street, Suite
                                                                                                                  1800, Dallas, TX 75201-4675
cr                     + Email/Text: lemaster@slollp.com
                                                                                        Jul 17 2024 20:00:00      PQPR Holdings Limited, LLC, c/o Streusand
                                                                                                                  Landon Ozburn & Lemmon LLP, attn: Stephen
                                                                                                                  Lemmon, 1801 S. Mopac Expressway, Suite 320,
                     Case 22-33553 Document 784 Filed in TXSB on 07/19/24 Page 5 of 10
District/off: 0541-4                                               User: ADIuser                                                          Page 2 of 7
Date Rcvd: Jul 17, 2024                                            Form ID: pdf002                                                      Total Noticed: 25
                                                                                                            Austin, TX 78746-9817
cr                     + Email/Text: BKECF@traviscountytx.gov
                                                                                   Jul 17 2024 20:00:00     Travis County, c/o Jason A. Starks, P.O. Box
                                                                                                            1748, Austin, TX 78767-1748

TOTAL: 7


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
aty                             Akin Gump Strauss Hauer & Feld LLP
cr                              Carlee Soto Parisi
cr                              Carlos M Soto
intp                            David Ross Jones
cr                              David Wheeler
cr                              Donna Soto
cr                              Ian Hockley
cr                              Jacqueline Barden
cr                              Jennifer Hensel
cr                              Jillian Soto-Marino
cr                              Mark Barden
cr                              Nicole Hockley
cr                              Public Storage
cr                              Robert Parker
cr                              William Aldenberg
cr                              William Sherlach
cr                ##+           Leonard Pozner, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                                77002-6774
cr                ##+           Marcel Fontaine, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin, Suite 2700, Houston, TX
                                77002-6774
cr                ##+           Neil Heslin, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                                77002-6774
cr                ##+           Scarlett Lewis, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                                77002-6774
cr                ##+           Veronique De La Rosa, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston,
                                TX 77002-6774

TOTAL: 16 Undeliverable, 0 Duplicate, 5 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 19, 2024                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 17, 2024 at the address(es) listed below:
Name                              Email Address
Annie E Catmull
                                  on behalf of Creditor Free Speech Systems LLC aecatmull@o-w-law.com, aecatmull@ecf.courtdrive.com,llumtacae@gmail.com

Avi Moshenberg
                       Case 22-33553 Document 784 Filed in TXSB on 07/19/24 Page 6 of 10
District/off: 0541-4                                          User: ADIuser                                                         Page 3 of 7
Date Rcvd: Jul 17, 2024                                       Form ID: pdf002                                                     Total Noticed: 25
                              on behalf of Plaintiff Leonard Pozner avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Creditor Leonard Pozner avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Creditor Marcel Fontaine avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Plaintiff Veronique De La Rosa avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Creditor Veronique De La Rosa avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Creditor Neil Heslin avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Creditor Scarlett Lewis avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Plaintiff Estate of Marcel Fontaine avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Plaintiff Neil Heslin avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Plaintiff Scarlett Lewis avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Bennett Greg Fisher
                              on behalf of Creditor Public Storage bennett.fisher@lewisbrisbois.com
                              amber.kaiser@lewisbrisbois.com;audrey.bridges@lewisbrisbois.com;jann.pigg@lewisbrisbois.com;maria.brito@lewisbrisbois.co
                              m;daniel.david@lewisbrisbois.com

Bradley J. Reeves
                              on behalf of Creditor Reeves Law PLLC bradley.reeves@pillsburylaw.com

Christina Walton Stephenson
                              on behalf of Debtor Alexander E. Jones Crissie.Stephenson@crowedunlevy.com
                              elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Christina Walton Stephenson
                              on behalf of Attorney Crowe & Dunlevy Crissie.Stephenson@crowedunlevy.com
                              elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Christina Walton Stephenson
                              on behalf of Defendant Alexander E. Jones Crissie.Stephenson@crowedunlevy.com
                              elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Christopher R Murray
                              chris@jonesmurray.com crm@trustesolutions.net

Elizabeth Carol Freeman
                              on behalf of Trustee Melissa A Haselden liz@lizfreemanlaw.com
                              kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net

Eric Henzy
                              on behalf of Plaintiff Richard M. Coan ehenzy@zeislaw.com

Erin Elizabeth Jones
                              on behalf of Trustee Christopher R Murray erin@jonesmurray.com 8597346420@filings.docketbird.com

Federico Andino Reynal
                              on behalf of Attorney Reynal Law Firm P.C. areynal@frlaw.us

Ha Minh Nguyen
                              on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

Jarrod B. Martin
                              on behalf of Plaintiff Neil Heslin jarrod.martin@chamberlainlaw.com
                              Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                              on behalf of Creditor Neil Heslin jarrod.martin@chamberlainlaw.com
                              Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                              on behalf of Plaintiff Leonard Pozner jarrod.martin@chamberlainlaw.com
                              Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                              on behalf of Plaintiff Scarlett Lewis jarrod.martin@chamberlainlaw.com
                              Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com
                      Case 22-33553 Document 784 Filed in TXSB on 07/19/24 Page 7 of 10
District/off: 0541-4                                          User: ADIuser                                                     Page 4 of 7
Date Rcvd: Jul 17, 2024                                       Form ID: pdf002                                                 Total Noticed: 25
Jarrod B. Martin
                             on behalf of Creditor Leonard Pozner jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Plaintiff Estate of Marcel Fontaine jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Creditor Veronique De La Rosa jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Creditor Marcel Fontaine jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Plaintiff Veronique De La Rosa jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                             on behalf of Creditor Scarlett Lewis jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jason Starks
                             on behalf of Creditor Travis County bkecf@traviscountytx.gov

Jayson B. Ruff
                             on behalf of U.S. Trustee US Trustee jayson.b.ruff@usdoj.gov

Jennifer Jaye Hardy
                             on behalf of Plaintiff Scarlett Lewis jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Creditor Veronique De La Rosa jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Plaintiff Estate of Marcel Fontaine jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Creditor Leonard Pozner jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Plaintiff Veronique De La Rosa jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Creditor Marcel Fontaine jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Creditor Scarlett Lewis jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Creditor Neil Heslin jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Plaintiff Neil Heslin jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                             on behalf of Plaintiff Leonard Pozner jhardy2@willkie.com mao@willkie.com

John D Malone
                             on behalf of Creditor Security Bank of Texas myra@johnmalonepc.com myra@johnmalonepc.com

Johnie J Patterson
                             on behalf of Creditor Elevated Solutions Group LLC
                             wandp.ecf@gmail.com;WalkerPatterson@jubileebk.net;wp@ecf.courtdrive.com

Joshua W. Wolfshohl
                             on behalf of Trustee Christopher R Murray jwolfshohl@porterhedges.com
                             egarfias@porterhedges.com;ysanders@porterhedges.com;eliana-garfias-8561@ecf.pacerpro.com

Marty L Brimmage
                             on behalf of Creditor Leonard Pozner mbrimmage@akingump.com
                             lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                             on behalf of Creditor Jacqueline Barden mbrimmage@akingump.com
                             lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                             on behalf of Creditor Robert Parker mbrimmage@akingump.com
                             lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com
                     Case 22-33553 Document 784 Filed in TXSB on 07/19/24 Page 8 of 10
District/off: 0541-4                                        User: ADIuser                                                         Page 5 of 7
Date Rcvd: Jul 17, 2024                                     Form ID: pdf002                                                     Total Noticed: 25
Marty L Brimmage
                            on behalf of Creditor Ian Hockley mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Committee Official Committee Of Unsecured Creditors mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Committee Official Committee of Unsecured Creditors of Alexander E. Jones mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Jennifer Hensel mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Nicole Hockley mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Carlos M Soto mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Carlee Soto Parisi mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Mark Barden mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor William Sherlach mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor William Aldenberg mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Jillian Soto-Marino mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Francine Wheeler mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Donna Soto mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Scarlett Lewis mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Veronique De La Rosa mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor David Wheeler mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Neil Heslin mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Marcel Fontaine mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Melanie A. Miller
                            on behalf of Creditor Committee Official Committee Of Unsecured Creditors melanie.miller@akingump.com

Melissa A Haselden
                            on behalf of Trustee Melissa A Haselden mhaselden@haseldenfarrow.com
                            haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosfs.com;mhaselden@ecf.courtdrive.com;haselden.melissaa.r104367@
                            notify.bestcase.com

Nicholas Lawson
                            on behalf of Creditor Leonard Pozner nick.lawson@lmbusinesslaw.com patricia.flores@mhllp.com
                   Case 22-33553 Document 784 Filed in TXSB on 07/19/24 Page 9 of 10
District/off: 0541-4                                          User: ADIuser                                                              Page 6 of 7
Date Rcvd: Jul 17, 2024                                       Form ID: pdf002                                                          Total Noticed: 25
Nicholas Lawson
                            on behalf of Creditor Neil Heslin nick.lawson@lmbusinesslaw.com patricia.flores@mhllp.com

Nicholas Lawson
                            on behalf of Creditor Marcel Fontaine nick.lawson@lmbusinesslaw.com patricia.flores@mhllp.com

Nicholas Lawson
                            on behalf of Creditor Veronique De La Rosa nick.lawson@lmbusinesslaw.com patricia.flores@mhllp.com

Nicholas Lawson
                            on behalf of Creditor Scarlett Lewis nick.lawson@lmbusinesslaw.com patricia.flores@mhllp.com

Patrick Michael Lynch
                            on behalf of Creditor Ally Bank plynch@qslwm.com jtownzen@qslwm.com

Raymond William Battaglia
                            on behalf of Creditor Free Speech Systems LLC rbattaglialaw@outlook.com, rwbresolve@gmail.com

Ryan E Chapple
                            on behalf of Plaintiff Jillian Soto Marino rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Nicole Hockley rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Carlee Soto-Parisi rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Mark Barden rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Francine Wheeler rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Ian Hockley rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Donna Soto rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Richard M. Coan rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff David Wheeler rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Carlos M Soto rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor William Aldenberg rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Mark Barden rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff William Sherlach rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Donna Soto rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Robert Parker rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Carlos M. Soto rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor William Sherlach rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Jacqueline Barden rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Jacqueline Barden rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Nicole Hockley rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Jillian Soto-Marino rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Richard M. Coan rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com
                    Case 22-33553 Document 784 Filed in TXSB on 07/19/24 Page 10 of 10
District/off: 0541-4                                          User: ADIuser                                                               Page 7 of 7
Date Rcvd: Jul 17, 2024                                       Form ID: pdf002                                                           Total Noticed: 25
Ryan E Chapple
                            on behalf of Creditor David Wheeler rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Jennifer Hensel rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Carlee Soto Parisi rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Francine Wheeler rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Robert Parker rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Ian Hockley rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Jennifer Hensel rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff William Aldenberg rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Creditor Erica L. Ash rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Scott R. Cheatham
                            on behalf of Creditor Bank of America N.A. scott.cheatham@arlaw.com vicki.owens@arlaw.com

Shelby A Jordan
                            on behalf of Debtor Alexander E. Jones cmadden@jhwclaw.com

Shelby A Jordan
                            on behalf of Defendant Alexander E. Jones cmadden@jhwclaw.com

Stephen A Roberts
                            on behalf of Interested Party David Ross Jones sroberts@srobertslawfirm.com 1222805420@filings.docketbird.com

Stephen Wayne Lemmon
                            on behalf of Creditor PQPR Holdings Limited LLC lemmon@slollp.com, mates@slollp.com

US Trustee
                            USTPRegion07.HU.ECF@USDOJ.GOV

Vickie L Driver
                            on behalf of Creditor Free Speech Systems LLC Vickie.Driver@crowedunlevy.com,
                            elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Vickie L Driver
                            on behalf of Defendant Alexander E. Jones Vickie.Driver@crowedunlevy.com
                            elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Vickie L Driver
                            on behalf of Debtor Alexander E. Jones Vickie.Driver@crowedunlevy.com
                            elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Yoshie Valadez
                            on behalf of Creditor Bank of America N.A. mhtbkanhsselffilings@mccarthyholthus.com yvaladez@mccarthyholthus.com


TOTAL: 118
